Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 1 of 43

APPEAL,CAP

U.S. District Court
District of Columbia (Washington, DC)
CRIMINAL DOCKET FOR CASE #: 1:21—cr-00040-TNM-9

Case title: USA v. MCCAUGHEY, III et al

Date Filed: 01/29/2021

Assigned to: Judge Trevor N. McFadden

Defendant (9)

FEDERICO GUILLERMO KLEIN
also known as
FREDDIE KLEIN

Pendin nt

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers

represented by Stanley Edmund Woodward , Jr.

BRAND WOODWARD LAW, LP

400 Fifth Street, Northwest

Washington, DC 20001

202-996-7447

Fax: 202-996-0113

Email: stanley@brandwoodwardlaw.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

William Lee Shipley , Jr.

LAW OFFICES OF WILLIAM L. SHIPLEY
PO Box 745

Kailua, HI 96734

808-228-1341

Email: 808Shipleylaw@gmail.com
TERMINATED: 05/30/2023

LEAD ATTORNEY

Designation: Retained

Kristin Leigh McGough
WASHINGTON LAWYERS' COMMITTEE
FOR CIVIL RIGHTS AND URBA
700 14th Street, N.W.

Suite 400

Washington, DC 20005
202-319-1067

Fax: 202-319-1010

Email: kristin _mcgough@washlaw.org
TERMINATED: 07/20/2022
Designation: Retained

Disposition
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 2 of 43

and Aiding and Abetting
(9)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(9s)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(17)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(17s)

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 3 of 43

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(19)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(19s)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(27)

18 U.S.C. 111(a)(1) and 2;
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
and Aiding and Abetting

(27s)

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 4 of 43

18 U.S.C. 111(a)(1) and (b);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
Using a Dangerous Weapon

(31-32)

18 U.S.C. 111(a)(1) and (b);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
Using a Dangerous Weapon

(31s—32s)

18 U.S.C. 1512(c)(2) and 2; TAMPERING
WITH A WITNESS, VICTIM OR
INFORMANT; Obstruction of an Official
Proceeding and Aiding and Abetting

(34)

18 U.S.C. 1512(c)(2) and 2; TAMPERING
WITH A WITNESS, VICTIM OR
INFORMANT; Obstruction of an Official
Proceeding and Aiding and Abetting

(34s)

a total of $870. Restitution imposed in the

amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 5 of 43

18 U.S.C. 231(a)(); CIVIL DISORDER;
Civil Disorder
(35)

18 U.S.C. 231(a)(3); CIVIL DISORDER;
Civil Disorder
(35s)

18 U.S.C. 1752(a)(2) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Disorderly and Disruptive
Conduct in a Restricted Building or
Grounds with a Deadly or Dangerous
Weapon

(43)

18 U.S.C. 1752(a)(2) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Disorderly and Disruptive
Conduct in a Restricted Building or
Grounds with a Deadly or Dangerous
Weapon

(43s)

imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Case 1:21-cr-O0040-TNM Document 737

18 U.S.C. 1752(a)(4) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Engaging in Physical
Violence in a Restricted Building or
Grounds with a Deadly or Dangerous
Weapon

(51)

18 U.S.C. 1752(a)(4) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Engaging in Physical
Violence in a Restricted Building or
Grounds with a Deadly or Dangerous
Weapon

(51s)

40 U.S.C. 5104(e)(2)(D); VIOLENT
ENTRY AND DISORDERLY

CONDUCT ON CAPITOL GROUNDS;
Disorderly Conduct in a Capitol Building

(52)

40 U.S.C. 5104(e)(2)(D), 2; VIOLENT
ENTRY AND DISORDERLY

CONDUCT ON CAPITOL GROUNDS;
Disorderly Conduct in a Capitol Building

(52s)

Filed 11/29/23 Page 6 of 43

Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 7 of 43

40 U.S.C. 5104(e)(2)(F); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Act of Physical Violence in a Capitol

Grounds or Buildings
(53)

40 U.S.C. 5104(e)(2)(F), 18:2; VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Act of Physical Violence in a Capitol
Grounds or Buildings

(53s)

Highest Offense Level (Opening)
Felony

Terminated Counts

None

Highest Offense Level (Terminated)

None

Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Defendant sentenced to a term of Seventy
(70) Months of Incarceration on each of
Counts 9s, 17s, 19s, 27s, 31s—32s, 34s; a term
of Sixty (60) Months of Incarceration on
Count 35s; a term of Twelve (12) Months of
Incarceration on each of Counts 43s and 51s;
a term of Six (6) Months of Incarceration on
each of Counts 52s and 53s, with all terms to
run concurrently, followed by a term of
Twenty—Four (24) Months of Supervised
Release on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s, 35s; a term of Twelve (12)
Months of Supervised Release on each of
Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100
imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and
51s; $10 imposed on Counts 52s and 53s, for
a total of $870. Restitution imposed in the
amount of $2,000. Fine imposed in the
amount of $3,000.

Disposition
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 8 of 43

Complaints Disposition

None

Inter Par

PRESS COALITION represented by Charles D. Tobin

BALLARD SPAHR LLP

1909 K Street, NW

12th Floor

Washington, DC 20006
202-661-2218

Fax: 202-661-2299

Email: tobinc@ballardspahr.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Lauren Russell

BALLARD SPAHR LLP

1909 K Street, NW

12th Floor

Washington, DC 20006
202-661-2200

Fax: 202—661—2299

Email: russelll@ballardspahr.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Maxwell S. Mishkin
BALLARD SPAHR LLP

1909 K Street, NW

12th Floor

Washington, DC 20006

(202) 508-1140

Fax: (202) 661-2299

Email: mishkinm@ballardspahr.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Plaintiff

USA represented by James Pearce
U.S. DEPARTMENT OF JUSTICE
CRIMINAL DIVISION APPELLATE
SECTION
Department of Justice, Criminal Division
950 Pennsylvania Ave NW
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 9 of 43

Suite 1250

Washington, DC 20530

(202) 532-4991

Fax: (202) 305-2121

Email: james,pearce@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Jocelyn Patricia Bond

U.S. ATTORNEY'S OFFICE FOR THE
DISTRICT OF COLUMBIA

555 Fourth Street, NW

Washington, DC 20001

(202) 252-2571

Email: jocelyn. bond@usdoj.gov

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Kaitlin Klamann

DOJ-USAO

601 D Street NW

Washington, DC 20530

(202) 252-6778

Email: kaitlin.klamann@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Kimberley Charlene Nielsen

U.S. ATTORNEY'S OFFICE
Homicide Section

555 4th Street NW

Room 9913

Washington, DC 20532

(202) 252-7418

Email: Kimberley.Nielsen@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Laura Elizabeth Hill

DOJ-CIV

175 N Street, NE

Room 9.1811

Washington, DC 20002
202-598-3962

Email: laura.c.hill@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 10 of 43

Anthony William Mariano

U.S. ATTORNEY'S OFFICE FOR THE
DISTRICT OF COLUMBIA

601 D Street, NW

Washington, DC 20530

(202) 476-0319

Email: anthony, mariano2@usdoj. gov
ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Ashley Akers

DOJ-CIV

Commercial Litigation Branch

1100 L Street Northwest
Washington, DC 20530

(202) 353-0521

Email: ashley.akers@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Gregory Paul Rosen

U.S. ATTORNEY'S OFFICE FOR THE
DISTRICT OF COLUMBIA

555 Fourth Street, NW

Washington, DC 20530

(202) 252-6932

Fax: (202) 514-9155

Email: gregory, rosen@usdoj,.gov
TERMINATED: 06/29/2023
Designation: Assistant U.S. Attorney

Kimberly Louise Paschall

U.S. ATTORNEY'S OFFICE

555 Fourth Street, NW

Washington, DC 20530

(202) 252-2650

Email: kimberly.paschall@usdoj.gov
TERMINATED: 06/29/2023
Designation: Assistant U.S. Attorney

Melissa Joy Jackson

U.S. ATTORNEY'S OFFICE FOR THE
DISTRICT OF COLUMBIA

555 4th Street, NW

Washington, DC 20530

202-252-7786

Email: melissa, jackson@usdoj.gov
TERMINATED: 05/31/2022
Designation: Assistant U.S. Attorney

Date Filed

Docket Text

10
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 11 of 43

08/04/2021

FOURTH SUPERSEDING INDICTMENT as to PATRICK EDWARD
MCCAUGHEY, III (1) count(s) 14ssss, 24ssss—25ssss, 34ssss, 35ssss, 37ssss, 45ssss,
52ssss, 53ssss, TRISTAN CHANDLER STEVENS (2) count(s) 14sss, 16sss, 21sss,
33sss, 34sss, 35sss, 36sss, 44sss, 52sss, 53sss, DAVID LEE JUDD (3) count(s) 16ss,
22ss, 33ss, 34ss, 35ss, 38ss, 46ss, 52ss, 53ss, CHRISTOPHER JOSEPH QUAGLIN
(4) count(s) 1ss, 2ss, 3ss, 4ss, 11ss, 20ss, 23ss, 26ss, 34ss, 35ss, 39ss, 47ss, 52ss, 53ss,
ROBERT MORSS (5) count(s) 5s, 6s, 10s, 20s, 27s, 34s, 35s, 41s, 49s, 52s, 53s,
GEOFFREY WILLIAM SILLS (6) count(s) 7s—8s, 13s, 15s, 18s, 34s, 35s, 40s, 48s,
52s, 53s, DAVID MEHAFFIE (7) count(s) 12, 34, 35, 52, 53, STEVEN CAPPUCCIO
(8) count(s) 28, 29, 30, 34, 35, 42, 50, 52, 53, FEDERICO GUILLERMO KLEIN (9)
count(s) 9, 17, 19, 27, 31-32, 34, 35, 43, 51, 52, 53. (zltp) (Entered: 08/10/2021)

08/04/2021

R

MOTION to Seal Case by USA as to PATRICK EDWARD MCCAUGEHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order)(zltp) (Entered: 08/10/2021)

08/04/2021

_—
wa

ORDER granting 104 Motion to Seal Case as to PATRICK EDWARD
MCCAUGHEY III (1), TRISTAN CHANDLER STEVENS (2), DAVID LEE JUDD
(3), CHRISTOPHER JOSEPH QUAGLIN (4), ROBERT MORSS (5), GEOFFREY
WILLIAM SILLS (6), DAVID MEHAFFIE (7), STEVEN CAPPUCCIO (8),
FEDERICO GUILLERMO KLEIN (9). Signed by Magistrate Judge Robin M.
Meriweather on 8/4/2021. (zltp) (Entered: 08/10/2021)

08/16/2021

Case unsealed as to DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (bb) (Entered: 08/17/2021)

08/24/2021

NOTICE OF ATTORNEY APPEARANCE Kimberley Charlene Nielsen appearing
for USA. (Nielsen, Kimberley) (Entered: 08/24/2021)

08/24/2021

—
IND
io

STATUS REPORT Regarding Status of Discovery by USA as to PATRICK
EDWARD MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Jackson, Melissa) (Entered: 08/24/2021)

09/03/2021

NOTICE OF ATTORNEY APPEARANCE: Stanley Edmund Woodward, Jr
appearing for FEDERICO GUILLERMO KLEIN (Woodward, Stanley) (Entered:
09/03/2021)

09/14/2021

MOTION for Protective Order by USA as to DAVID MEHAFFIE, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN. (Attachments: # 1 Affidavit
Declaration of Thomas A. Dibiase, # 2 Exhibit to Affidavit, # 3 Text of Proposed
Order Proposed Protective Order)(Bond, Jocelyn) (Entered: 09/14/2021)

09/15/2021

MINUTE ORDER as to DAVID MEHAFFIE (7), STEVEN CAPPUCCIO (8),
FEDERICO GUILLERMO KLEIN (9) ordering Defendants to file their opposition, if
any, to the Government's 124 Motion for a Protective Order on or before September
21, 2021. SO ORDERED. Signed by Judge Trevor N. McFadden on 9/15/21. (Ictnm2)
Modified on 9/16/2021 to add defendants' names (hmc). (Entered: 09/15/2021)

09/15/2021

_—
IND
an

STATUS REPORT on Discovery as of 9/14/21 by USA as to PATRICK EDWARD
MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM

11
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 12 of 43

SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Bond, Jocelyn) (Entered: 09/15/2021)

09/16/2021

Set/Reset Deadlines as to DAVID MEHAFFIE (7), STEVEN CAPPUCCIO (8),
FEDERICO GUILLERMO KLEIN (9) : Defendants' response to Government's 124
Motion due by 9/21/2021. (hmc) (Entered: 09/16/2021)

09/17/2021

MINUTE ORDER as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9).
Due to the recent unavailability of remote hearing rooms at DC Jail, the Status
Conference set for September 20, 2021 is hereby VACATED. The Court will
promptly reschedule the hearing. Signed by Judge Trevor N. McFadden on 9/17/2021.
(hmc) (Entered: 09/17/2021)

09/20/2021

MINUTE ORDER as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9).
The Status Conference that was originally set for 9/20/2021, is rescheduled to
10/4/2021 at 4:30 PM in the Ceremonial Courtroom — In Person before Judge Trevor
N. McFadden. Time under the Speedy Trial Act is tolled from 9/20/2021 to
10/4/2021, in the interests of justice and in light of the logistical issues in scheduling a
hearing with all defendants earlier than this. Signed by Judge Trevor N. McFadden on
9/20/2021. (hmc) (Entered: 09/20/2021)

09/23/2021

i

NOTICE of Discovery by USA as to FEDERICO GUILLERMO KLEIN
(Attachments: # 1 Appendix Discovery Letter)(Bond, Jocelyn) (Entered: 09/23/2021)

09/23/2021

—
wo

NOTICE OF FILING OF DISCOVERY LETTER by USA as to PATRICK EDWARD
MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Attachments: # 1 Notice to Counsel/Party)(Jackson, Melissa) (Entered:
09/23/2021)

09/23/2021

—_—
S

NOTICE OF FILING OF DISCOVERY LETTER by USA as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Attachments: # 1 Notice to Counsel/Party)(Jackson, Melissa) (Entered:
09/23/2021)

09/27/2021

_—
iON

NOTICE OF FILING OF DISCOVERY LETTER by USA as to PATRICK EDWARD
MCCAUGHEY, II, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Attachments: # 1 Notice to Counsel/Party)(Jackson, Melissa) (Entered:
09/27/2021)

10/01/2021

_—
io

NOTICE of Filing of Discovery Letter by USA as to PATRICK EDWARD
MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 13 of 43

KLEIN (Attachments: # 1 Exhibit)(Jackson, Melissa) (Entered: 10/01/2021)

10/04/2021 MINUTE ORDER granting Governments 145 Motion to Seal. The Clerk of Court
shall place ECF No. 145 and 145—1 under seal. SO ORDERED. Signed by Judge
Trevor N. McFadden on 10/4/21. (Ictnm2) (Entered: 10/04/2021)

10/04/2021 Minute Entry for proceedings held before Judge Trevor N. McFadden: Arraignment

and Status Conference as to PATRICK EDWARD MCCAUGHEY, III (2), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)
held on 10/4/2021. Due Process Protections Act read into the record by the Court.
PATRICK EDWARD MCCAUGHEY III (1) arraigned on Counts 14ssss,
24ssss—25ssss, 34ssss, 35ssss, 37ssss, 45ssss, 52ssss, 53ssss. Defendant entered a plea
of Not Guilty as to all counts. TRISTAN CHANDLER STEVENS (2) arrainged on
Counts 14sss, 16sss, 21sss, 33sss, 34sss, 35sss, 36sss, 44sss, 52sss, 53sss. Defendant
entered a plea of Not Guilty as to all counts. DAVID LEE JUDD (3) arraigned on
Counts 16ss, 22ss, 33ss, 34ss, 35ss, 38ss, 46ss, 52ss, 53ss. Defendant entered a plea of
Not Guilty as to all counts. CHRISTOPHER JOSEPH QUAGLIN (4) arraigned on
Counts 1ss, 2ss, 3ss, 4ss, 11ss, 20ss, 23ss, 26ss, 34ss, 35ss, 39ss, 47ss, 52ss, 53ss.
Defendant entered a plea of Not Guilty as to all counts. ROBERT MORSS (5)
arrainged on Counts 5s, 6s, 10s, 20s, 27s, 34s, 35s, 41s, 49s, 52s, 53s. Defendant
entered a plea of Not Guilty as to all counts. GEOFFREY WILLIAM SILLS (6)
arriagned on Counts 7s—8s, 13s, 15s, 18s, 34s, 35s, 40s, 48s, 52s, 53s. Defendant
entered a plea of Not Guilty as to all counts. STEVEN CAPPUCCIO (8) arriagned on
Counts 28, 29, 30, 34, 35, 42, 50, 52, 53. Defendant entered a plea of Not Guilty as to
all counts. FEDERICO GUILLERMO KLEIN (9) arraigned on Counts 9, 17, 19, 27,
31-32, 34, 35, 43, 51, 52, 53. Defendant entered a plea of Not Guilty as to all counts.
Government's 124 Motion for Protective Order as to DAVID MEHAFFIE (7),
STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9), GRANTED.
PATRICK EDWARD MCCAUGHEY'S (1) 129 Motion to Modify Conditions of
Release, GRANTED. Defendant will no longer be subject to GPS monitoring. All
other conditions of release remain the same. TRISTAN CHANDLER STEVENS' (2)
135 Motion to Modify Conditions of Release, DENIED. DAVID LEE JUDD'S (3)
132 Motion to Modify Conditions of Release, GRANTED. Defendant will no longer
be subject to home detention, but will continue to be subject to GPS location
monitoring. All other conditions of release remain the same. Government's response
to DAVID LEE JUDD'S (3) 138 Motion to Compel Discovery in Support of Claim of
Selective Prosecution due by 10/18/2021. Defendant's reply due by 10/25/2021. Status
Conference set for 12/17/2021 at 2:00 PM in Courtroom 2-— In Person before Judge
Trevor N. McFadden. Time under the Speedy Trial Act is tolled from 10/4/2021 to
12/17/2021, in the interests of justice. DAVID LEE JUDD'S (3) appearance is waived
for the next hearing. STEVEN CAPPUCCIO'S (8) appearance is waived for the next
hearing. FEDERICO GUILLERMO KLEIN (9) directed to appear in person to the
next hearing. Bond Status of Defendants: (1), (2), (3), (7), (8) & (9): Personal
Recognizance, (4), (5) & (6): committed/commitments issued. Defense Attorneys: (1):
Lindy R. Urso, (2): Lauren Cobb, (3): Elizabeth A. Mullin, (4): Steven Metcalf
standing in for Joseph D. McBride, (5): Elizabeth L. Toplin and Kathleen M.
Gaughan, (6): Marc Massey standing in for John C. Kiyonaga, (7): Eugene Ohm
standing in for Sabrina P. Shroff, (8): Marina T. Douenat, (9): Stanley E. Woodward,
Jr.; US Attorneys: Jocelyn P. Bond, Melissa J. Jackson, Kimberly C. Nielsen; Pretrial
Officer: Shay Holman; Court Reporter: Nancy Meyer. (hmc) (Entered: 10/05/2021)

13
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 14 of 43

10/04/2021 |148 | ORDER Setting Conditions of Release with Global Positioning System Monitoring as
to FEDERICO GUILLERMO KLEIN (9). Signed by Judge Trevor N. McFadden on
10/4/2021. (Attachments: # 1 Appearance Bond) (hmc) (Entered: 10/05/2021)

10/05/2021 MINUTE ORDER as to DAVID MEHAFFIE (7), STEVEN CAPPUCCIO (8),

FEDERICO GUILLERMO KLEIN (9). Consistent with the Due Process Protections
Act, and as stated at the hearing held before Judge McFadden, the Court ORDERS
that all government counsel shall review their disclosure obligations under Brady v.
Maryland, 373 U.S. 83 (1963), and its progeny, as set forth in Local Criminal Rule
5.1, and comply with those provisions. The failure to comply could result in dismissal
of the indictment or information, dismissal of individual charges, exclusion of
government evidence or witnesses, continuances, Bar discipline, or any other remedy
that is just under the circumstances. SO ORDERED. Signed by Judge Trevor N.
McFadden on 10/5/21. (ictnm2) (Entered: 10/05/2021)

10/05/2021 |147 | ORDER granting 124 Motion for Protective Order as to DAVID MEHAFFIE (7),
STEVEN CAPPUCCIO (8), and FEDERICO GUILLERMO KLEIN (9). See attached
Protective Order for details. Signed by Judge Trevor N. McFadden on 10/5/2021.
(Ictnm2), (Entered: 10/05/2021)

10/06/2021

&

NOTICE of Filing of Discovery Letter by USA as to PATRICK EDWARD
MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Attachments: # 1 Exhibit Discovery letter— 10—6—2021)(Jackson, Melissa)
(Entered: 10/06/2021)

10/07/2021

_—
Wn
io

NOTICE of Filing of Discovery Letter by USA as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN (Attachments: # 1 Exhibit)(Jackson, Melissa) (Entered: 10/07/2021)

10/12/2021

_—a
Ln
IND

TRANSCRIPT OF PROCEEDINGS in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on 10/04/021. Page Numbers: 1-64.
Date of Issuance: 10/07/2021. Stenographic Court Reporter: Nancy J. Meyer.
Telephone Number: 202-354-3118. Transcripts may be ordered by submitting the
<ahref="http://www.dcd-uscourts.gov/node/110">Transcript Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be accessed via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have 21 days to file
with the court and the court reporter any request to redact personal identifiers from
this transcript. If no such requests are filed, the transcript will be made available to the
public via PACER without redaction after 90 days. The policy, which includes the
five personal identifiers specifically covered, is located on our website at
www.dcd.uscourts.gov.

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 15 of 43

Redaction Request due 11/2/2021. Redacted Transcript Deadline set for 11/12/2021.
Release of Transcript Restriction set for 1/10/2022.(Meyer, Nancy) (Entered:
10/12/2021)

10/27/2021

_—

STATUS REPORT Regarding Status of Discovery by USA as to PATRICK
EDWARD MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Jackson, Melissa) (Entered: 10/27/2021)

11/05/2021

iN

STATUS REPORT Regarding Status of Discovery by USA as to PATRICK
EDWARD MCCAUGHEY, II, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Jackson, Melissa) (Entered: 11/05/2021)

12/01/2021

FIFTH SUPERSEDING INDICTMENT as to PATRICK EDWARD MCCAUGHEY,
III (1) count(s) 14sssss, 24sssss—25sssss, 34sssss, 35sssss, 37sssss, 45sssss, 52sssss,
53sssss, TRISTAN CHANDLER STEVENS (2) count(s) 14ssss, 16ssss, 21ssss,
33ssss, 34ssss, 35ssss, 36ssss, 44ssss, 52ssss, 53ssss, DAVID LEE JUDD (3) count(s)
16sss, 22sss, 33sss, 34sss, 35sss, 38sss, 46sss, S2sss, 53sss, CHRISTOPHER JOSEPH
QUAGLIN (4) count(s) 1sss, 2sss, 3sss, 4sss, 11sss, 20sss, 23sss, 26sss, 34sss, 35sss,
39sss, 47sss, 52sss, 53sss, ROBERT MORSS (5) count(s) 5ss, 6ss, 10ss, 20ss, 27ss,
34ss, 35ss, 41ss, 49ss, 52ss, 53ss, GEOFFREY WILLIAM SILLS (6) count(s)
7Tss—8ss, 13ss, 15ss, 18ss, 34ss, 35ss, 40ss, 48ss, 52ss, 53ss, DAVID MEHAFFIE (7)
count(s) 12s, 34s, 35s, 52s, 53s, STEVEN CAPPUCCIO (8) count(s) 28s, 29s, 30s,
34s, 35s, 42s, 50s, 52s, 53s, FEDERICO GUILLERMO KLEIN (9) count(s) 9s, 17s,
19s, 27s, 31s—32s, 34s, 35s, 43s, 51s, 52s, 53s. (zltp) (Entered: 12/03/2021)

12/16/2021

io

NOTICE OF ATTORNEY APPEARANCE James Pearce appearing for USA.
(Pearce, James) (Entered: 12/16/2021)

12/17/2021

Minute Entry for proceedings held before Judge Trevor N. McFadden: Arraignment
and Status Conference as to PATRICK EDWARD MCCAUGHEY, II (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)
held on 12/17/2021. Appearance waived for PATRICK EDWARD MCCAUGHEY,
III (1), TRISTAN CHANDLER STEVENS (2), DAVID LEE JUDD (3), DAVID
MEHAFFIE (7). CHRISTOPHER JOSEPH QUAGLIN (4) arraigned on Counts 1sss,
2sss, 3sss, 4sss, 11sss, 20sss, 23sss, 26sss, 34sss, 35sss, 39sss, 47sss, 52sss, 53sss.
Defendant entered a plea of Not Guilty as to all counts. ROBERT MORSS (5)
arraigned on Counts 5ss, 6ss, 10ss, 20ss, 27ss, 34ss, 35ss, 41ss, 49ss, 52ss, 53ss.
Defendant entered a plea of Not Guilty as to all counts. GEOFFREY WILLIAM
SILLS (6) arraigned on Counts 7ss, 8ss, 13ss, 15ss, 18ss, 34ss, 35ss, 40ss, 48ss, 52ss,
53ss. Defendant entered a plea of Not Guilty as to all counts. STEVEN CAPPUCCIO
(8) arraigned on Counts 28s, 29s, 30s, 34s, 35s, 42s, 50s, 52s, 53s. Defendant entered
a plea of Not Guilty as to all counts. FEDERICO GUILLERMO KLEIN (9) arraigned
on Counts 9s, 17s, 19s, 27s, 31s—32s, 34s, 35s, 43s, 51s, 52s, 53s. Defendant entered a
plea of Not Guilty as to all counts. Defendants PATRICK EDWARD
MCCAUGHEY, ITI (1), TRISTAN CHANDLER STEVENS (2), DAVID LEE JUDD
(3), DAVID MEHAFFIE (7) waived their arraignment. DAVID LEE JUDD'S (3) 158
Motion to Dismiss Counts Alleging Use of a Dangerous Weapon, DENIED for

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 16 of 43

reasons stated on the record. ROBERT MORSS'(5) 164 Emergency Motion to Revoke
Detention Order and for Pretrial Release; DENIED and affirming the detention
decision of the magistrate judge. STEVEN CAPPUCCIO'S (8) 185 Motion for Bond
Modification, GRANTED IN PART. Defendant STEVEN CAPPUCCIO (8) is placed
on curfew from 10:00 PM to 6:00 AM. Government's response to GEOFFREY
WILLIAM SILLS' (6) 188 Motion for Release from Custody due by 1/5/2022,
Defendant's reply due by 1/12/2022. The Court directs the Clerk's Office to close
criminal case 21-236, USA v. Klein. Jury Trial for Group 1 (PATRICK EDWARD
MCCAUGHEY, III (1), TRISTAN CHANDLER STEVENS (2), ROBERT MORSS
(5), DAVID MEHAFFIE (7)) set for 8/29/2022 at 9:00 AM in Courtroom 2— In
Person before Judge Trevor N. McFadden. Jury Trial for Group 2 (DAVID LEE
JUDD (3), CHRISTOPHER JOSEPH QUAGLIN (4), GEOFFREY WILLIAM SILLS
(6), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)) set for
9/26/2022 at 9:00 AM in Courtroom 2- In Person before Judge Trevor N. McFadden.
A further Status Conference is set for 2/4/2022 at 2:00 PM in Courtroom 2— In Person
before Judge Trevor N. McFadden. The defendants who decide to accept a plea shall
appear in person to the next status conference. The defendants who are rejecting the
plea shall file something on the docket stating that they are rejecting the plea. Speedy
Trial Excludable (XT) started 12/17/2021 through 2/4/2022, in the interest of justice.
Bond Status of Defendants: (1) — appearance waived, (2) — appearance waived, (3) —
appearance waived, (7) — appearance waived, (8) & (9): Personal Recognizance, (4),
(5) & (6): committed/commitments issued. Defense Attorneys: (1): Lindy R. Urso,
(2): Lauren Cobb, (3): Elizabeth A. Mullin, (4): Steven Metcalf standing in for Joseph
D. McBride, (5) & (6): John C. Kiyonaga, (7): Ryan Marshall, (8): Marina T. Douenat
and Edgar Holguin, (9): Stanley E. Woodward; US Attorneys: Jocelyn P. Bond,
Melissa J. Jackson, James Pearce; Pretrial Officer: Christine Schuck; Court Reporter:
Lisa Bankins. (hmc) (Entered: 12/17/2021)

12/20/2021

Unopposed MOTION to Modify Conditions of Release Temporarily by FEDERICO
GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed Order)(Woodward,
Stanley) (Entered: 12/20/2021)

12/21/2021

MINUTE ORDER granting 201 Unopposed Motion to Temporarily Modify Release
Conditions as to FEDERICO GUILLERMO KLEIN (9). Defendant is permitted to
travel to his brother's house between 11 AM and 11 PM on December 24, 2021 and is
permitted to travel to his mother's house between 11 AM and 11 PM on December 25,
2021. The addresses of both residences have been provided to Pretrial Services
Agency. All other conditions of Defendant's pretrial release remain in effect. SO
ORDERED. Signed by Judge Trevor N. McFadden on 12/21/21. (Ictnm2) (Entered:
12/21/2021)

01/06/2022

MINUTE ORDER as to DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), GEOFFREY WILLIAM SILLS (6), STEVEN CAPPUCCIO (8),
FEDERICO GUILLERMO KLEIN (9). The Jury Trial for Group 2, previously set for
9/26/2022, is RESCHEDULED to 10/3/2022 at 9:00 AM in Courtroom 2— In Person
before Judge Trevor N. McFadden. Signed by Judge Trevor N. McFadden on
1/6/2022. (hmc) (Entered: 01/06/2022)

01/27/2022

INQ
oo

MOTION for Order implementing proposed pretrial scheduling order by USA as to
PATRICK EDWARD MCCAUGHEY, III, TRISTAN CHANDLER STEVENS,
DAVID LEE JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS,
GEOFFREY WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO,
FEDERICO GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed Order

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 17 of 43

Proposed Pretrial Scheduling Order)(Bond, Jocelyn) (Entered: 01/27/2022)

02/03/2022

MINUTE ORDER as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9).
Members of the public may access the February 4, 2022 status conference by dialing
the toll-free public access line: (877) 336-1831, access code 4509718. Signed by
Judge Trevor N. McFadden on 2/3/2022. (hmc) (Entered: 02/03/2022)

02/04/2022

Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
Conference as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)
held on 2/4/2022. Defendants PATRICK EDWARD MCCAUGHEY, III (1),
TRISTAN CHANDLER STEVENS (2), DAVID MEHAFFIE (7), and STEVEN
CAPPUCCIO (8) waived their appearance. GEOFFREY WILLIAM SILLS’ (6) 188
Motion for Release from Custody as Corrected for Second Time, DENIED.
Defendants CHRISTOPHER JOSEPH QUAGLIN (4), ROBERT MORSS (5),
GEOFFREY WILLIAM SILLS (6), FEDERICO GUILLERMO KLEIN (9) rejected
the government's plea offer on the record. Defendants DAVID MEHAFFIE (7) and
STEVEN CAPPUCCIO (8) shall, within one week, file a signed notice rejecting the
government's plea offer. The government's response to the pending motions to sever is
held in abeyance. A further Status Conference is set for 3/4/2022 at 4:00 PM in
Courtroom 2- In Person before Judge Trevor N. McFadden. Speedy Trial Excludable
(XT) started 2/4/2022 through 3/4/2022, in the interest of justice. Bond Status of
Defendants: (1), (2), (7) & (8) — appearance waived, (3) & (9): Personal
Recognizance, (4), (5) & (6): committed/commitments issued. Defense Attorneys: (1):
Lindy R. Urso, (2): Lauren Cobb, (3): Elizabeth A. Mullin, (4): John C. Kiyonaga
standing in for Joseph D. McBride, (5) & (6): John C. Kiyonaga, (7): John M. Pierce,
(8): Marina T. Douenat, (9): Stanley E. Woodward; US Attorneys: (1): Jocelyn P.
Bond, Melissa J. Jackson, Kimberley C. Nielsen; Court Reporter: Lisa Griffith. (amc)
(Entered: 02/04/2022)

02/11/2022

IND
aS

Status Report of Discovery by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN (Bond,
Jocelyn) Modified text on 2/14/2022 (zltp). (Entered: 02/11/2022)

03/03/2022

iON

NOTICE OF ATTORNEY APPEARANCE Kimberly Louise Paschall appearing for
USA. (Paschall, Kimberly) (Entered: 03/03/2022)

03/03/2022

INQ
INO

MOTION for Order to issue proposed pre-trial scheduling order for severance and
other Rule 12 motions by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order Proposed Pre-Trial Scheduling
Order)(Bond, Jocelyn) (Entered: 03/03/2022)

03/04/2022

INO
I~

MOTION to Modify Conditions of Release by FEDERICO GUILLERMO KLEIN.
(Woodward, Stanley) (Entered: 03/04/2022)

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 18 of 43

03/04/2022 38 | STATUS REPORT of Defense Counsel Discovery Status Report by FEDERICO
GUILLERMO KLEIN as to PATRICK EDWARD MCCAUGHEY, III, TRISTAN
CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN
(Woodward, Stanley) (Entered: 03/04/2022)

03/04/2022 Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
Conference as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)
held on 3/4/2022. Government's response to Defendant STEVEN CAPPUCCIO'S (8)
236 Motion to Compel Discovery due by 3/18/2022. Oral request by Attorney Mullin
to have the Court appoint CJA counsel as co—counsel for DAVID LEE JUDD (3).
Attorney Mullin directed to file her request. Government's 232 Motion for Order to
Issue Proposed Pre-Trial Scheduling Order for Severance and Other Rule 12
Motions, GRANTED, over the objection of DAVID MEHAFFIE (7). All other
pretrial motions and notices by any party, including, but not limited to motions in
limine, motions to dismiss, and expert notices shall be filed no later than 6/3/2022.
Responses to motions and notices related to Group 1 defendants are due by 7/1/2022.
Replies related to Group 1 defendants are due by 7/15/2022. Responses to motions
and notices related to Group 2 defendants are due by 7/15/2022. Replies related to
Group 2 defendants are due by 7/29/2022. Government's 208 Motion for Order
Implementing Proposed Pretrial Scheduling Order, DENIED AS MOOT. The
government shall provide defendants with any evidence it intends to use in its
case—in—chief by 4/22/2022. Defendant FEDERICO GUILLERMO KLEIN'S (9) 237
Motion to Modify Conditions of Release, GRANTED. The Court authorizes Pretrial
Services to approve Defendant's visits to his family. The Court also authorizes
Defendant to travel on March 10, 2022 for the purpose of obtaining mulch. A further
Status Conference is set for 4/22/2022 at 1:00 PM in Courtroom 2— In Person before
Judge Trevor N. McFadden. Speedy Trial Excludable (XT) started 3/4/2022 through
4/22/2022, in the interest of justice. Bond Status of Defendants: (1), (2), (7) & (8) —
Personal Recognizance — appearances waived, (3) & (9): Personal Recognizance, (4),
(5) & (6): committed/commitments issued. Defense Attorneys: (1): Lindy R. Urso,
(2): Lauren Cobb, (3): Elizabeth A. Mullin, (4): John C. Kiyonaga standing in for
Joseph D. McBride, (5) & (6): John C. Kiyonaga, (7): John M. Pierce, (8): Marina T.
Douenat, (9): Stanley E. Woodward; US Attorneys: Jocelyn P. Bond, Kimberly C.
Nielsen, Kimberly L. Paschall; Court Reporter: Sara Wick. (hmc) Modified on
3/7/2022 (hmc). (Entered: 03/04/2022)

03/25/2022 2

ico

MOTION to Modify Conditions of Release Temporarily by FEDERICO
GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed Order)(Woodward,
Stanley) (Entered: 03/25/2022)

03/25/2022 |2

\O

MOTION to Sever Defendant for Trial by FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order)(Woodward, Stanley) (Entered:
03/25/2022)

03/25/2022 MINUTE ORDER denying 248 Motion to Modify Conditions of Release as to
FEDERICO GUILLERMO KLEIN (9). SO ORDERED. Signed by Judge Trevor N.
McFadden on 3/25/22. (lctnm2) (Entered: 03/25/2022)

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 19 of 43

04/08/2022

TRANSCRIPT OF STATUS CONFERENCE in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on 03/04/2022. Page Numbers: 1—42.
Date of Issuance: 04/08/2022. Court Reporter: Sara Wick, telephone number
202-354-3284. Transcripts may be ordered by submitting the Transcript Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be accessed via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 4/29/2022. Redacted Transcript Deadline set for 5/9/2022.
Release of Transcript Restriction set for 7/7/2022.(Wick, Sara) (Entered: 04/08/2022)

04/12/2022

RESOLVED.....NOTICE of Provisional Status re 252 NOTICE OF ATTORNEY
APPEARANCE: Edward John Ungvarsky appearing for DAVID LEE JUDD
Co—Counsel with AFPD E. Mullin (Ungvarsky, Edward).

Your attorney renewal has not been received. As a result, your membership with the
U.S. District & Bankruptcy Courts for the District of Columbia is not in good
standing, and you are not permitted to file. Pursuant to Local Criminal Rule 57.21.1,
you must immediately correct your membership status by following the appropriate
instructions on this page of our website:
https://www.dcd.uscourts.gov/attorney—renewal.

Please be advised that the presiding judge in this case has been notified that you are
currently not in good standing to file in this court. Renewal Due by 4/19/2022. (znm)
Modified on 4/14/2022 (znm). (Entered: 04/12/2022)

04/19/2022

INO

MOTION to Adopt and Join Motions Filed by Co—Defendant (ECF Nos. 254, 255,
256, and 257) re 254 MOTION to Dismiss Count Thirty— Five, 255 MOTION to
Dismiss Count Thirty—Four, 256 MOTION to Dismiss Count Thirty—Eight and
Forty—Six, 257 MOTION to Change Venue by TRISTAN CHANDLER STEVENS
as to PATRICK EDWARD MCCAUGHEY, III, TRISTAN CHANDLER STEVENS,
DAVID LEE JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS,
GEOFFREY WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO,
FEDERICO GUILLERMO KLEIN. (Cobb, Lauren) Modified event type on 5/5/2022
(zltp). (Entered: 04/19/2022)

04/22/2022

Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
Conference as to PATRICK EDWARD MCCAUGHEY, III (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9)

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 20 of 43

held on 4/22/2022. Defendant DAVID MEHAFFIE'S (7) 242 Motion to Modify
Conditions of Release, GRANTED. Defendant STEVEN CAPPUCCIO'S (8) 270
Motion for Bond Modification, GRANTED. Pretrial Conference for Group 1 set for
7/22/2022 at 10:00 AM in Courtroom 2— In Person before Judge Trevor N.
McFadden. Pretrial Conference for Group 2 set for 8/23/2022 at 10:00 AM in
Courtroom 2-— In Person before Judge Trevor N. McFadden. Time under the Speedy
Trial Act is tolling as a matter of staute. Bond Status of Defendants: (1), (2), & (7) —
Personal Recognizance — appearances waived, (3), (8) & (9): Personal Recognizance,
(4) & (5): committed/commitments issued, (6) committed, appearance waived.
Defense Attorneys:(1): Lindy R. Urso, (2): Lauren Cobb, (3): Elizabeth A. Mullin,
(4): John C. Kiyonaga standing in for Joseph D. McBride, (5) & (6): John C.
Kiyonaga, (7): Stanley E. Woodward, Jr. standing in for William L. Shipley, Jr., (8):
Marina T. Douenat, (9): Stanley E. Woodward; US Attorneys: Jocelyn P. Bond,
Kimberly C. Nielsen, Kimberly L. Paschall; Pretrial Officer: Christine Schuck; Court
Reporter: Lisa Moreira. (hmc) (Entered: 04/22/2022)

04/22/2022

27

~~]

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 206
MOTION to Sever Defendant , 207 MOTION to Sever Defendant , 249 MOTION to
Sever Defendant for Trial (Paschall, Kimberly) (Entered: 04/22/2022)

05/02/2022

TRANSCRIPT OF PROCEEDINGS in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on 2—4—2022; Page Numbers: 1-36.
Date of Issuance:5—2—2022. Court Reporter/Transcriber Lisa Griffith, Telephone
number (202) 354-3247, Transcripts may be ordered by submitting the Transcript
Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be acc essed via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 5/23/2022. Redacted Transcript Deadline set for 6/2/2022.
Release of Transcript Restriction set for 7/31/2022.(Griffith, Lisa) (Entered:
05/02/2022)

05/03/2022

TRANSCRIPT OF PROCEEDINGS in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on 2—4—2022; Page Numbers: 1-36.

20
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 21 of 43

Date of Issuance:5—3—2022. Court Reporter/Transcriber Lisa Griffith, Telephone
number 2023543247, Transcripts may be ordered by submitting the Transcript Order
Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be accesse d via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 5/24/2022. Redacted Transcript Deadline set for 6/3/2022.
Release of Transcript Restriction set for 8/1/2022.(Griffith, Lisa) (Entered:
05/03/2022)

05/12/2022

2

joo

MOTION for Extension of Time to File Response/Reply as to 259 MOTION to
Dismiss Count Thirty—Four by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order Order Granting Motion)(Bond, Jocelyn)
(Entered: 05/12/2022)

05/13/2022

TRANSCRIPT OF STATUS CONFERENCE in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on April 22, 2022; Page Numbers:
1-38. Date of Issuance:May 13, 2022. Court Reporter/Transcriber Lisa A. Moreira,
RDR, CRR, Telephone number (202) 354-3187, Transcripts may be ordered by
submitting the Transcript Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 day s, the transcript may be accessed via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 6/3/2022. Redacted Transcript Deadline set for 6/13/2022.
Release of Transcript Restriction set for 8/11/2022.(Moreira, Lisa) (Entered:
05/13/2022)

21
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 22 of 43

05/13/2022

MINUTE ORDER granting 288 Motion for Extension of Time to File
Response/Reply as to PATRICK EDWARD MCCAUGHEY ITI (1), TRISTAN
CHANDLER STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID
MEHAFFIE (7), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9).
The Government's response to Defendant McCaughey's 259 Motion to Dismiss is due
by May 27, 2022. The Court expects that the Government will file an omnibus
response to all pending motions to dismiss obstruction counts. McCaughey's reply is
due by June 10, 2022. This ruling applies only to Defendant McCaughey's 259
Motion. All other dates in the previous scheduling order, see Minute Entry, Mar. 4,
2022, remain the same. SO ORDERED. Signed by Judge Trevor N. McFadden on
5/13/22. (Ictnm2) (Entered: 05/13/2022)

05/20/2022

B

MEMORANDUM ORDER denying the 206 , 207 , and 249 Motions to Sever as to
DAVID LEE JUDD (3), STEVEN CAPPUCCIO (8), and FEDERICO GUILLERMO
KLEIN (9). See attached Order for details. Signed by Judge Trevor N. McFadden on
5/20/22. (Ictnm2) (Entered: 05/20/2022)

05/27/2022

INQ
INO

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 278
MOTION for Joinder, 258 MOTION for Joinder and to adopt Motion for Change of
Venue, 269 MOTION for Joinder , 257 MOTION to Change Venue , 262 MOTION

for Joinder, 260 MOTION for Joinder, 279 MOTION for Joinder (Paschall,
Kimberly) (Entered: 05/27/2022)

05/27/2022

INO
LO
ad

MOTION for Leave to File Excess Pages by USA as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN. (Paschall, Kimberly) (Entered: 05/27/2022)

05/27/2022

MINUTE ORDER granting in part the Governments 293 Motion to File Excess Pages
as to PATRICK EDWARD MCCAUGHEY III (1), TRISTAN CHANDLER
STEVENS (2), DAVID LEE JUDD (3), CHRISTOPHER JOSEPH QUAGLIN (4),
ROBERT MORSS (5), GEOFFREY WILLIAM SILLS (6), DAVID MEHAFFIE (7),
STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9). The Court has
permitted the Government to file an omnibus response to all pending motions to
dismiss obstruction counts. Min. Order, May 13, 2022 (emphasis added). As to that
response, the Government may file excess pages. But for its responses to Plaintiffs'
motions to dismiss other charges not under 18 USC 1512, the Government shall
respond singly to each motion and do so within the prescribed page limits. SO
ORDERED. Signed by Judge Trevor N. McFadden on 5/27/22. (Ictnm2) (Iccr)
(Entered: 05/27/2022)

05/27/2022

2

Ss

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 254
MOTION to Dismiss Count Thirty—Five, 262 MOTION for Joinder, 271 MOTION
for Joinder, 268 MOTION for Joinder (Paschall, Kimberly) (Entered: 05/27/2022)

05/27/2022

22
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 23 of 43

RESPONSE by USA as to PATRICK EDWARD MCCAUGHEY, III, TRISTAN
CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 256
MOTION to Dismiss Count Thirty—Eight and Forty—Six, 271 MOTION for Joinder,
262 MOTION for Joinder, 268 MOTION for Joinder Opposition to Motion to Dismiss
Counts (Attachments: # 1 Exhibit)(Bond, Jocelyn) (Entered: 05/27/2022)

05/27/2022

296

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 278
MOTION for Joinder, 259 MOTION to Dismiss Count Thirty—Four, 255 MOTION
to Dismiss Count Thirty—Four, 269 MOTION for Joinder , 271 MOTION for Joinder,
262 MOTION for Joinder, 253 MOTION to Dismiss Count Thirty—Four, 279
MOTION for Joinder (Attachments: # 1 Exhibit Hale—Cusanelli Pretrial Ruling
Transcript)(Paschall, Kimberly) (Entered: 05/27/2022)

05/31/2022

2
io

NOTICE OF WITHDRAWAL OF APPEARANCE of AUSA Melissa Jackson by
USA as to PATRICK EDWARD MCCAUGHEY, II, TRISTAN CHANDLER
STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT
MORSS, GEOFFREY WILLIAM SILLS, DAVID MEHAFFIE, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN (Jackson, Melissa) (Entered:
05/31/2022)

06/01/2022

MINUTE ORDER granting 301 Motion to Adopt and Join Reply as to GEOFFREY
WILLIAM SILLS (6). SO ORDERED. Signed by Judge Trevor N. McFadden on
6/1/22. (Ictnm2) (Entered: 06/01/2022)

06/02/2022

NOTICE OF ATTORNEY APPEARANCE Ashley Akers appearing for USA.
(Akers, Ashley) (Entered: 06/02/2022)

06/03/2022

MOTION Join and Adopt Motions ECF Nos. 253, 254, 255, 256, 257 & 259 by
FEDERICO GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed
Order)(Woodward, Stanley) Modified Event on 6/3/2022 (zhsj). (Entered:
06/03/2022)

06/03/2022

MOTION to Dismiss Count Thirty—Four (34) by FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order)(Woodward, Stanley) (Entered:
06/03/2022)

06/03/2022

MOTION to Change Venue by FEDERICO GUILLERMO KLEIN. (Attachments: # 1
Text of Proposed Order)(Woodward, Stanley) (Additional attachment(s) added on
6/13/2022: # 2 Exhibit A- COMPARATIE COMMUNITY ATTITUDE
—MULTI-DISTRICT STUDY) (zstd). (Entered: 06/03/2022)

06/03/2022

MOTION in Limine to Exclude Evidence by FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order, # 2 Exhibit A)(Woodward, Stanley)
(Entered: 06/03/2022)

06/03/2022

E

MOTION to Join and Adopt Mr. David Lee Judd's Motion for Selective Prosecution
and for Limited Discovery by FEDERICO GUILLERMO KLEIN. (Attachments: # 1
Text of Proposed Order)(Woodward, Stanley) Modified Text and Event on 6/3/2022
(zhsj). (Entered: 06/03/2022)

23
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 24 of 43

06/03/2022

MINUTE ORDER granting 307 Motion to Join as to FEDERICO GUILLERMO
KLEIN (9). SO ORDERED. Signed by Judge Trevor N. McFadden on 6/3/22.
(Ictnm2) (Entered: 06/03/2022)

06/03/2022

tnd
od

MOTION in Limine to Limit Cross—Examination of Secret Service Agency Witnesses
by USA as to PATRICK EDWARD MCCAUGHEY, III, TRISTAN CHANDLER
STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT
MORSS, GEOFFREY WILLIAM SILLS, DAVID MEHAFFIE, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN. (Akers, Ashley) (Entered:
06/03/2022)

06/03/2022

i
ws

MOTION in Limine Regarding Evidence About the Specific Locations of U.S. Capitol
Police Surveillance Cameras by USA as to PATRICK EDWARD MCCAUGHEY,
Ill, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER
JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN. (Akers,
Ashley) (Entered: 06/03/2022)

06/03/2022

MOTION in Limine to Preclude Claim of Self Defense by USA as to FEDERICO
GUILLERMO KLEIN. (Paschall, Kimberly) (Entered: 06/03/2022)

06/13/2022

tnd
io

MOTION Join and Adopt Motions by FEDERICO GUILLERMO KLEIN.
(Attachments: # 1 Text of Proposed Order)(Woodward, Stanley) Modified event type
on 6/14/2022 (zltp). (Entered: 06/13/2022)

06/13/2022

MINUTE ORDER granting 350 Motion to Join and Adopt as to FEDERICO
GUILLERMO KLEIN (9). SO ORDERED. Signed by Judge Trevor N. McFadden on
6/13/22. (Ictnm2) (Entered: 06/13/2022)

06/16/2022

MINUTE ORDER granting 348 Motion to Adopt Reply as to PATRICK EDWARD
McCAUGHEY, III (1). SO ORDERED. Signed by Judge Trevor N. McFadden on
6/16/22, (Ictnm2) (Entered: 06/16/2022)

06/28/2022

to
NO

MOTION for Joinder by STEVEN CAPPUCCIO as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN. (Attachments: # 1 Exhibit Order)(Douenat, Marina) (Entered: 06/28/2022)

07/01/2022

MOTION to Continue Trial by PATRICK EDWARD MCCAUGHEY, III, TRISTAN
CHANDLER STEVENS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN. (Attachments: # 1 Certificate of Service)(Shipley, William)
(Entered: 07/01/2022)

07/01/2022 {361 | Memorandum in Opposition by USA as to FEDERICO GUILLERMO KLEIN re 312
MOTION for Leave to Join Opposition to Motion to Compel Discovery for Selective
Prosecution (Bond, Jocelyn) (Entered: 07/01/2022)

07/01/2022 MINUTE ORDER as to DAVID JUDD (3) and STEVEN CAPPUCCIO (8). The

Court grants Judd's 358 Motion. He may join the 355 Motion to Compel
communications between DOJ and the House Select Committee. Judd also moves to
compel the transcripts of the depositions taken by the Select Committee. As to that
request, the Court grants Cappuccio's 359 Motion to join it. SO ORDERED. Signed
by Judge Trevor N. McFadden on 7/1/22. (Ictnm2) (Entered: 07/01/2022)

07/01/2022

td
~

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 25 of 43

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 329
MOTION in Limine AUTHENTICATION OF STILL IMAGES (Akers, Ashley)
(Entered: 07/01/2022)

07/01/2022

MINUTE ORDER granting 364 Motion to Adopt and Join as to TRISTAN
CHANDLER STEVENS (2). SO ORDERED. Signed by Judge Trevor N. McFadden
on 7/1/22. (Ictnm2) (Entered: 07/01/2022)

07/12/2022

MINUTE ORDER as to DAVID LEE JUDD (3), CHRISTOPHER JOSEPH
QUAGLIN (4), GEOFFREY WILLIAM SILLS (6), STEVEN CAPPUCCIO (8), and
FEDERICO GUILLERMO KLEIN (9). The Court directs the Group Two parties to
file joint proposed voir dire questions and jury instructions by August 16, 2022. If the
parties cannot agree, they shall submit their respective positions as to a particular
question or instruction. SO ORDERED. Signed by Judge Trevor N. McFadden on
7/12/22, (ctnm2) (Entered: 07/12/2022)

07/15/2022

Memorandum in Opposition by USA as to FEDERICO GUILLERMO KLEIN re 309
MOTION to Change Venue (Paschall, Kimberly) (Entered: 07/15/2022)

07/15/2022

Memorandum in Opposition by USA as to PATRICK EDWARD MCCAUGHEY, III,
TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re 358
MOTION for Joinder and to Supplement, ECF. No. 355, Motion to Compel
Communications with and Transcripts produced for House Select Committee
Hearings on January 6,368 MOTION for Joinder and Supplement Motion to
Continue Trial, 355 MOTION to Compel Discovery, 359 MOTION for Joinder , 360
MOTION to Continue Trial, 356 MOTION for Leave to Join, 364 MOTION for
Leave to Join (Paschall, Kimberly) (Entered: 07/15/2022)

07/15/2022

tno
in

Memorandum in Opposition by USA as to FEDERICO GUILLERMO KLEIN re 308
MOTION to Dismiss Count Thirty—Four (34) (Paschall, Kimberly) (Entered:
07/15/2022)

07/15/2022

RESPONSE by USA as to FEDERICO GUILLERMO KLEIN re 310 MOTION in
Limine to Exclude Evidence (Akers, Ashley) (Entered: 07/15/2022)

07/15/2022

OO
fo

RESPONSE by FEDERICO GUILLERMO KLEIN re 314 MOTION in Limine
Regarding Evidence About the Specific Locations of U.S. Capitol Police Surveillance
Cameras, 327 MOTION in Limine to Preclude Claim of Self Defense, 313 MOTION

in Limine to Limit Cross—Examination of Secret Service Agency Witnesses
(Woodward, Stanley) (Entered: 07/15/2022)

07/20/2022 |392 | MOTION to Withdraw as Attorney by Kristin McGough. by FEDERICO
GUILLERMO KLEIN. (McGough, Kristin) (Entered: 07/20/2022)
07/20/2022 MINUTE ORDER granting 392 Motion to Withdraw as to FEDERICO

GUILLERMO KLEIN (9). Attorney McGough is no longer involved in this case. SO
ORDERED. Signed by Judge Trevor N. McFadden on 7/20/22. (lctnm2) (Entered:
07/20/2022)

07/27/2022

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 26 of 43

NOTICE OF HEARING as to PATRICK EDWARD MCCAUGHEY, III, TRISTAN
CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN. The
parties shall take notice that a Status Conference to discuss any Motions to Continue
the Group II trial is scheduled for 8/3/2022, at 10:00 AM via videoconference before
Judge Trevor N. McFadden. (ztg) Modified to correct typo on 7/27/2022 (ztg).
(Entered: 07/27/2022)

07/27/2022

MOTION for Bench Trial or in the alternative, MOTION to Continue Trial by
FEDERICO GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed
Order)(Woodward, Stanley) (Entered: 07/27/2022)

07/28/2022

ENTERED IN ERROR..... MINUTE ORDER granting 396 Sealed Motion for Leave
to File Under Seal as to CHRISTOPHER JOSEPH QUAGLIN. The Clerk's Office
shall place ECF No. 396-1 on the case docket as Defendant's Motion to Continue and
shall place ECF No. 396—2 under seal on the docket as Exhibit A to that Motion. SO
ORDERED. Signed by Judge Trevor N. McFadden on 7/28/22. (Ictnm3) Modified to
mark order as error on 7/29/2022 (zkh). (Entered: 07/28/2022)

07/29/2022

E

REPLY in Support by FEDERICO GUILLERMO KLEIN re 308 MOTION to
Dismiss Count Thirty—Four (34) (Woodward, Stanley) (Entered: 07/29/2022)

07/29/2022

REPLY in Support by FEDERICO GUILLERMO KLEIN re 312 MOTION for Leave
to Join and for Discovery re: Selective Prosecution (Woodward, Stanley) (Entered:
07/29/2022)

07/29/2022

REPLY in Support by FEDERICO GUILLERMO KLEIN re 309 MOTION to
Change Venue (Woodward, Stanley) (Entered: 07/29/2022)

07/29/2022

E

REPLY in Support by FEDERICO GUILLERMO KLEIN re 310 MOTION in Limine
to Exclude Evidence (Woodward, Stanley) (Entered: 07/29/2022)

08/05/2022

NOTICE OF RESCHEDULED HEARING as to CHRISTOPHER JOSEPH
QUAGLIN (4). The VTC Status Conference previously set for 8/3/2022, is
RESCHEDULED to 8/8/2022 at 3:00 PM before Judge Trevor N. McFadden. The
parties shall take notice that only Mr. Quaglin, Attorney McBride and government
counsel are requested to be present. (hmc) (Entered: 08/05/2022)

08/11/2022

ORDER re pending Motions to Dismiss as to DAVID LEE JUDD (3),
CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO (8), and
FEDERICO GUILLERMO KLEIN (9). See attached Order for details. Signed by
Judge Trevor N. McFadden on 8/11/2022. (Ictnm3) (Entered: 08/11/2022)

08/11/2022

E

ORDER re various pending Motions as to DAVID LEE JUDD (3), CHRISTOPHER
JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO (8), and FEDERICO GUILLERMO
KLEIN (9). See attached Order for details. Signed by Judge Trevor N. McFadden on
8/11/2022. (ictnm3) (Entered: 08/11/2022)

08/12/2022

RESPONSE by USA as to FEDERICO GUILLERMO KLEIN re 397 MOTION for
Bench Trial or in the alternative MOTION to Continue Trial (Paschall, Kimberly)
(Entered: 08/12/2022)

08/15/2022

Consent MOTION for Extension of Time to File proposed voir dire and jury
instructions by DAVID LEE JUDD. (Mullin, Elizabeth) (Entered: 08/15/2022)

26
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 27 of 43

08/15/2022

MOTION Join and Adopt Motion 414 to Extend Time File Proposed Jury Instructions
and Voir Dire by FEDERICO GUILLERMO KLEIN. (Attachments: # 1 Text of
Proposed Order)(Woodward, Stanley) Modified event type on 8/16/2022 (zltp).
(Entered: 08/15/2022)

08/16/2022

E

Unopposed MOTION for Joinder by STEVEN CAPPUCCIO as to PATRICK
EDWARD MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN. (Attachments: # 1 Exhibit Order)(Douenat, Marina) (Entered:
08/16/2022)

08/16/2022

MINUTE ORDER granting the 414 Motion for Extension of Time to File Proposed
Voir Dire and Jury Instructions as to DAVID LEE JUDD (3). The parties shall file
their proposed voir dire and jury instructions on or before Friday, August 19, 2022.
Upon consideration of the 415 and 416 Motions to Join and Adopt as to FEDERICO
GUILLERMO KLEIN (9) and STEVEN CAPPUCCIO (8), the Court grants these
Motions and will treat Defendants Klein and Cappuccio as having joined the 414
Motion for Extension of Time. SO ORDERED. Signed by Judge Trevor N. McFadden
on 8/16/2022. (Ictnm3) (Entered: 08/16/2022)

08/19/2022

MOTION for Extension of Time to File Group 2 Jury Instructions & Voir Dire by
USA as to PATRICK EDWARD MCCAUGHEY, ITI, TRISTAN CHANDLER
STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT
MORSS, GEOFFREY WILLIAM SILLS, DAVID MEHAFFIE, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN. (Bond, Jocelyn) (Entered:
08/19/2022)

08/19/2022

MINUTE ORDER granting the 417 Motion for Extension of Time to File Group 2
Jury Instructions & Voir Dire. The Court will set a new due date for Group 2 to file
Jury Instructions and Voir Dire, if they remain necessary, at the August 23, 2022
Pre-Trial Conference. SO ORDERED. Signed by Judge Trevor N. McFadden on
8/19/2022. (Ictnm3) (Entered: 08/19/2022)

08/23/2022

Minute Entry for proceedings held before Judge Trevor N. McFadden: Pretrial
Conference as to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO
(8), FEDERICO GUILLERMO KLEIN (9) held on 8/23/2022. All three defendants
waived their right to a trial by jury. All jury trial related deadlines vacated. Defendant
Cappuccio's 305 and 306 expert notices, provisionally granted. Defendant's full and
proper expert notices due by 10/15/2022, government's opposition due by 11/15/2022.
331 Motion in Limine — Inflammatory Words and Phrases, denied as moot in light of
defendant Cappuccio's withdrawal. 304 Motion to Exclude Evidence at Trial, denied
as moot in light of defendant Cappuccio's withdrawal. 316 Motion to Exclude
Irrelevant and Prejudicial Evidence Under Federal Rules of Evidence 401 and 403,
denied as moot without prejudice as to defendants Quaglin and Klein. Defendant
Klein's 397 Motion to Continue Trial, granted. Bench Trial as to defendants Quaglin,
Cappuccio and Klein set for 4/10/2023 at 9:30 AM in Courtroom 2 before Judge
Trevor N. McFadden. Time under the Speedy Trial Act is excluded from 8/23/2022
through 4/10/2023, in the interest of justice. Bond Status of Defendants: (4):
Committed/Commitment Issued, (8) & (9): Personal Recognizance. Defense
Attorneys: (4): Joseph D. McBride, (8): Marina T. Douenat, Edgar H. Holguin, (9):
Stanley Edmund Woodward, Jr.; US Attorneys: Kimberly L. Paschall, Jocelyn P.
Bond, Ashley Akers; Court Reporter: Tammy Nestor. (hmc) (Entered: 08/24/2022)

27
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 28 of 43

08/23/2022

=
pS
io

WAIVER of Trial by Jury as to FEDERICO GUILLERMO KLEIN (9). Approved by
Judge Trevor N. McFadden on 8/23/2022. (hmc) (Entered: 08/24/2022)

08/24/2022

MINUTE ORDER as to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN
CAPPUCCIO(8), FEDERICO GUILLERMO KLEIN (9). All parties in the Group 2

Bench Trial shall submit trial briefs, if any, no later than one week before trial. Signed
by Judge Trevor N. McFadden on 8/24/2022. (hmc) (Entered: 08/24/2022)

09/10/2022

Ss
J
os

RESPONSE by USA as to PATRICK EDWARD MCCAUGEHEY, III, TRISTAN
CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM SILLS, DAVID
MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN re: 469
Defendant Stevens Memorandum of Law on 18 USC 111 (a) (Bond, Jocelyn) Modified
text to include linkage on 9/26/2022 (zltp). (Entered: 09/10/2022)

03/08/2023

E

NOTICE OF ATTORNEY APPEARANCE Anthony William Mariano appearing for
USA. (Mariano, Anthony) (Entered: 03/08/2023)

03/10/2023

B

NOTICE OF ATTORNEY APPEARANCE Kaitlin Klamann appearing for USA.
(Attachments: # ]1 Certificate of Service)(Klamann, Kaitlin) (Entered: 03/10/2023)

03/13/2023

in
.]
_—

NOTICE OF ATTORNEY APPEARANCE: William Lee Shipley, Jr appearing for
FEDERICO GUILLERMO KLEIN (Shipley, William) (Entered: 03/13/2023)

03/17/2023

NOTICE OF HEARING as to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN
CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9). The parties shall take
notice that a VTC Status Conference is set for 3/21/2023 at 3:30 PM before Judge
Trevor N. McFadden. (hmc) (Entered: 03/17/2023)

03/21/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
Conference as to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO
(8), FEDERICO GUILLERMO KLEIN (9) held via video on 3/21/2023. Defendant
Klein's presence waived for this hearing. Defendant Quaglin's motion for severance,
denied. Defendant Quaglin's motion to continue bench trial, granted. Bench trial
previously scheduled for 4/10/2023, vacated. Ascertainment of Counsel Hearing as to
CHRISTOPHER JOSEPH QUAGLIN (4) and Status Conference as to all three
defendants set for 4/17/2023 at 2:00 PM via videoconference before Judge Trevor N.
McFadden. Defendant's Cappuccio's appearance is waived for this hearing. Time
under the Speedy Trial Act tolled from 3/21/2023 to 4/17/2023, in the interest of
justice. Bond Status of Defendants: (4): committed, (8) personal recognizance, (9):
personal recognizance, presence waived for this hearing. Defense Attorneys: (4):
Jonathan Gross, (8): Marina T. Douenat, Edgar H. Holguin, (9): Stanley E.
Woodward, Jr., William L. Shipley, Jr.; US Attorneys: Anthony W. Mariano, Kaitlin
Klamann; Court Reporter: Lisa Edwards. (hmc) (Entered: 03/22/2023)

03/25/2023

TRANSCRIPT OF STATUS CONFERENCE in case as to CHRISTOPHER JOSEPH
QUAGLIN, STEVEN CAPPUCCIO, FEDERICO GUILLERMO KLEIN before
Judge Trevor N. McFadden held on March 21, 2023; Page Numbers: 1—23. Date of
Issuance: March 25, 2023. Court Reporter/Transcriber Lisa Edwards. Telephone
number (202) 354-3269. Transcripts may be ordered by submitting the Transcript
Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be accessed via PACER. Other transcript formats,

28
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 29 of 43

(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 4/15/2023. Redacted Transcript Deadline set for 4/25/2023.
Release of Transcript Restriction set for 6/23/2023.(zlfe) (Entered: 03/25/2023)

04/11/2023

617

TRANSCRIPT OF PROCEEDINGS in case as to PATRICK EDWARD
MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY WILLIAM
SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO GUILLERMO
KLEIN before Judge Trevor N. McFadden held on 12//17/2021; Page Numbers: 1—95.
Date of Issuance: 12/24/2021. Court Reporter/Transcriber Lisa K. Bankins, Transcripts
may be ordered by submitting the Transcript Order Form

For the first 90 days after this filing date, the transcript may be viewed at the
courthouse at a public terminal or purchased from the court reporter referenced above.
After 90 days, the transcript may be accessed via PACER. Other transcript formats,
(multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty—one
days to file with the court and the court reporter any request to redact personal
identifiers from this transcript. If no such requests are filed, the transcript will be
made available to the public via PACER without redaction after 90 days. The policy,
which includes the five personal identifiers specifically covered, is located on our
website at www.dcd.uscourts.gov.

Redaction Request due 5/2/2023. Redacted Transcript Deadline set for 5/12/2023.
Release of Transcript Restriction set for 7/10/2023.(zhsj) (Entered: 04/14/2023)

04/17/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
Conference as to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO
(8), FEDERICO GUILLERMO KLEIN (9) held on 4/17/2023. Defendant Quaglin (4)
was not present for this hearing. Defendant Klein's presence was waived during the
previous status conference. Attorney Maria Rodriguez will be lead counsel for
defendant Quaglin (4). Bench Trial rescheduled to 7/11/2023 at 9:30 AM in
Courtroom 2 before Judge Trevor N. McFadden. Trial briefs due by 7/6/2023. Time
under the Speedy Trial Act tolled from 4/17/2023 to 7/11/2023, in the interest of
justice. Bond Status of Defendants: (4): committed, no present for this hearing, (8)
personal recognizance, (9): personal recognizance, presence waived for this hearing;
Defense Attorneys: (4): Maria Rodriguez, Jonathan Gross, (8): Marina T. Douenat,
Edgar H. Holguin, (9): Stanley E. Woodward, Jr., William L. Shipley, Jr.; US
Attorneys: Ashley Akers, Anthony W. Mariano, Kaitlin Klamann; Court Reporter:
Tammi Sefranek. (hmc) (Entered: 04/17/2023)

05/29/2023

648

MOTION to Withdraw as Attorney by FEDERICO GUILLERMO KLEIN. (Shipley,
William) (Entered: 05/29/2023)

29
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 30 of 43

05/30/2023

MINUTE ORDER as to FEDERICO GUILLERMO KLEIN (9) granting 648 Motion
to Withdraw as Attorney. Attorney William Shipley will no longer represent
Defendant FEDERICO GUILLERMO KLEIN (9). SO ORDERED. Signed by Judge
Trevor N. McFadden on 5/30/2023. (Ictnm3) Modified to add defendant's name on
5/31/2023 (hmc). (Entered: 05/30/2023)

06/22/2023

NOTICE OF RESCHEDULED HEARING as to CHRISTOPHER JOSEPH
QUAGLIN (4), STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9).
The Bench Trial for Group 2 previously set for 7/11/2023, is RESCHEDULED to
7/10/2023 at 9:30 AM in Courtroom 2 before Judge Trevor N. McFadden. (hmc)
(Entered: 06/22/2023)

06/29/2023

IN
io

NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to PATRICK
EDWARD MCCAUGHEY, III, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Attachments: # 1 Certificate of Service)(Rosen, Gregory)
(Entered: 06/29/2023)

06/29/2023

NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to PATRICK
EDWARD MCCAUGHEY, IT, TRISTAN CHANDLER STEVENS, DAVID LEE
JUDD, CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, GEOFFREY
WILLIAM SILLS, DAVID MEHAFFIE, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Paschall, Kimberly) (Entered: 06/29/2023)

07/04/2023

iON
i

NOTICE of Intent to Offer Evidence Pursuant to Rule 902(11) by USA as to
CHRISTOPHER JOSEPH QUAGLIN, STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Attachments: # 1 Exhibit A, #2 Exhibit B, #3 Exhibit C, #4
Exhibit D, # 5 Exhibit E, #6 Exhibit F, #7 Exhibit G, # 8 Exhibit H, # 9 Exhibit
I)(Klamann, Kaitlin) (Entered: 07/04/2023)

07/06/2023

TRIAL BRIEF by USA as to CHRISTOPHER JOSEPH QUAGLIN, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN (Attachments: # 1 Proposed
Stipulations)(Akers, Ashley) (Entered: 07/06/2023)

07/07/2023

NOTICE OF ATTORNEY APPEARANCE Laura Elizabeth Hill appearing for USA.
(Hill, Laura) (Entered: 07/07/2023)

07/09/2023

TRIAL BRIEF by USA as to CHRISTOPHER JOSEPH QUAGLIN, STEVEN
CAPPUCCIO, FEDERICO GUILLERMO KLEIN (Hill, Laura) (Entered:
07/09/2023)

07/10/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
to CHRISTOPHER JOSEPH QUAGLIN (4), STEVEN CAPPUCCIO (8),
FEDERICO GUILLERMO KLEIN (9) began and held on 7/10/2023. Bench Trial
converted to a Stipulated Bench Trial as to CHRISTOPHER JOSEPH QUAGLIN (4).
Bench Trial as to STEVEN CAPPUCCIO (8) and FEDERICO GUILLERMO KLEIN
(9) continued to 7/11/2023 at 9:30 AM in Courtroom 2- In Person before Judge
Trevor N. McFadden. Bond Status of Defendants: (4): committed/commitment issued,
(8), (9): personal recognizance. Defense Attorneys: (4): Jonathan Gross, Maria Teresa
Rodriguez, (8): Marina T. Douenat, Edgar H. Holguin, (9): Stanley E. Woodward, Jr.;
US Attorneys: Ashley Akers, Kaitlin Klamann, Laura E. Hill; Court Reporter: Nancy
Meyer. Government Witnesses: Lieutenant George McCree, Officer Laschon Harvell,
Officer Henry Foulds, Officer Omar Forrester (testimony began and continued).
(hmc) (Entered: 07/10/2023)

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 31 of 43

07/11/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
to STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9) resumed and
held on 7/11/2023. Any additional briefing due by 8:00 AM on 7/12/2023. Bench
Trial continued to 7/12/2023 at 9:30 AM in Courtroom 2-— In Person before Judge
Trevor N. McFadden. Bond Status of Defendants: Personal Recognizance. Defense
Attorneys: (8): Marina T. Douenat, Edgar H. Holguin, (9): Stanley E. Woodward; US
Attorneys: Ashley Akers, Kaitlin Klamann, Laura E. Hill; Court Reporter: Nancy
Meyer. Government Witnesses: Officer Omar Forrester (testimony resumed and
concluded), Sergeant William Bogner, Officer Daniel Hodges. (hmc) (Entered:
07/11/2023)

07/12/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
to STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9) resumed and
held on 7/12/2023. Government's 675 Motion to Exclude the Expert Testimony of
Brian Cutler, DENIED. Government's 677 Motion to Exclude the Expert Testimony
of Dr. Stephen Nicholas Xenakis, DENIED. Bench Trial continued to 7/13/2023 at
9:30 AM in Courtroom 2-— In Person before Judge Trevor N. McFadden. Bond Status
of Defendants: Personal Recognizance. Defense Attorneys: (8): Marina T. Douenat,
Edgar H. Holguin, (9): Stanley E. Woodward; US Attorneys: Ashley Akers, Kaitlin
Klamann, Laura E. Hill; Court Reporter: Nancy Meyer. Government Witnesses:
Officer Morris Moore Jr., Gabriela Mancini, Special Agent Jon Comottor, Special
Agent Benjamin Fulp (testimony began and continued). Defendant Cappuccio's
Witness: Dr. Brian Cutler (appeared by video). (hmc) (Entered: 07/12/2023)

07/13/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
to STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9) resumed and
held on 7/13/2023. Defendants’ oral motions for judgement of acquittal, deferred by
the Court. Bench Trial continued to 7/14/2023 at 9:00 AM in Courtroom 2- In Person
before Judge Trevor N. McFadden. Bond Status of Defendants: Personal
Recognizance. Defense Attorneys: (8): Marina T. Douenat, Edgar H. Holguin, (9):
Stanley E. Woodward; US Attorneys: Ashley Akers, Kaitlin Klamann, Laura E. Hill;
Court Reporters: Nancy Meyer (AM), Lisa Moreira (PM). Government Witnesses:
Special Agent Benjamin Fulp (testimony resumed and concluded), Alina Banasyak.
Defendant Cappuccio's Witnesses: Michael Ingersoll, General Stephen Xenakis,
Steven Cappuccio (testimony began and continued). (hmc) (Entered: 07/13/2023)

07/14/2023

NOTICE of Authority by USA as to STEVEN CAPPUCCIO, FEDERICO
GUILLERMO KLEIN (Akers, Ashley) (Entered: 07/14/2023)

07/14/2023

NOTICE of Authority by FEDERICO GUILLERMO KLEIN (Woodward, Stanley)
(Entered: 07/14/2023)

07/14/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
to STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9) resumed and
held on 7/14/2023. Government's motion to reopen its case in chief, granted.
Defendants' renewed oral motions for judgement of acquittal, deferred by the Court.
Oral Ruling set for 7/20/2023 at 2:00 PM in Courtroom 2— In Person before Judge
Trevor N. McFadden. Bond Status of Defendants: Personal Recognizance; Defense
Attorneys: (8): Marina T. Douenat, Edgar H. Holguin, (9): Stanley E. Woodward; US
Attorneys: Ashley Akers, Kaitlin Klamann, Laura E. Hill; Court Reporter: Nancy
Meyer. Defendant Cappuccio's Witness: Steven Cappuccio (testimony resumed and
concluded). (hmc) (Entered: 07/14/2023)

07/14/2023

31
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 32 of 43

Right to Testify by FEDERICO GUILLERMO KLEIN (9). (hmc) (Entered:
07/17/2023)

07/14/2023

ATTORNEYS' ACKNOWLEDGMENT OF TRIAL EXHIBITS as to STEVEN
CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9). (hmc) (Entered:
07/17/2023)

07/14/2023

EXHIBIT LIST by USA as to STEVEN CAPPUCCIO (8), FEDERICO
GUILLERMO KLEIN (9). (hmc) (Entered: 07/17/2023)

07/14/2023

EXHIBIT LIST by FEDERICO GUILLERMO KLEIN (9). (hmc) (Entered:
07/17/2023)

07/20/2023

Minute Entry for proceedings held before Judge Trevor N. McFadden: Oral Ruling as
to STEVEN CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9) held on
7/20/2023. VERDICT of Guilty rendered by the Court as to STEVEN CAPPUCCIO
(8) on Counts 28s, 29s, 30s, 35s, 42s, 50s, 53s. VERDICT of Not Guilty rendered by
the Court as to STEVEN CAPPUCCIO (8) on Counts 34s, 52s. VERDICT of Guilty
rendered by the Court as to FEDERICO GUILLERMO KLEIN (9) on Counts 9s, 17s,
19s, 27s, 34s, 35s, 52s, 53s. VERDICT of Guilty rendered by the Court as to
FEDERICO GUILLERMO KLEIN (9) on Counts 31s—32s under 111(a), but Not
Guilty under 111(b). VERDICT of Guilty rendered by the Court as to FEDERICO
GUILLERMO KLEIN (9) on Count 43s of disruptive conduct under 18 U.S.C. §
1752(a)(2), but NOT GUILTY of the dangerous weapon enhancement found in §
1752(b)(1)(A). VERDICT of Guilty rendered by the Court as to FEDERICO
GUILLERMO KLEIN (9) on Count 51s under 18 U.S.C. § 1752(a)(4), but NOT
GUILTY of the dangerous weapon enhancement found in § 1752(b)(1)(A).
REFERRAL TO PROBATION OFFICE for Presentence Investigation as to STEVEN
CAPPUCCIO (8), FEDERICO GUILLERMO KLEIN (9). Sentencing as to STEVEN
CAPPUCCIO (8) set for 10/19/2023 at 10:00 AM in Courtroom 2-— In Person before
Judge Trevor N. McFadden. Sentencing as to FEDERICO GUILLERMO KLEIN (9)
set for 11/3/2023 at 10:00 AM in Courtroom 2-— In Person before Judge Trevor N.
McFadden. Defendant FEDERICO GUILLERMO KLEIN (9) directed to not have
any contact with any witnesses or not have any third party contact any witnesses on
his behalf. Government's oral motion as to FEDERICO GUILLERMO KLEIN (9) to
revoke his release, heard and denied. Government's oral motion as to STEVEN
CAPPUCCIO (8) to revoke his release, heard and granted. Defendant CAPPUCCIO
(8) was remanded to the custody of the U.S. Marhals. Bond Status of Defendants: (8):
Committed/Commitment issued; (9): Personal Recognizance. Defense Attorneys: (8):
Marina T. Douenat, (9): Stanley E. Woodward; US Attorneys: Ashley Akers, Kaitlin
Klamann, Laura E. Hill; Court Reporter: Nancy Meyer.(hmc) (Entered: 07/20/2023)

07/21/2023

COURT VERDICT as to FEDERICO GUILLERMO KLEIN (9). See text for details.
Signed by Judge Trevor N. McFadden on 7/21/2023. (Ictnm3) (Entered: 07/21/2023)

07/28/2023

MINUTE ORDER as to STEVEN CAPPUCCIO (8) and FEDERICO GUILLERMO
KLEIN (9) directing the Government, after consultation with and consent of the
Defendants, to promptly make the video exhibits submitted at trial between July 10,
2023 and July 14, 2023, publicly available without restrictions by providing access
using the "drop box" technical solution described in Standing Order 2]—28, In re:
Media Access to Video Exhibits in Pretrial Capitol Cases. SO ORDERED. Signed by
Judge Trevor N. McFadden on 7/28/23. (Ictnm3) (Entered: 07/28/2023)

10/27/2023

i

32
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 33 of 43

SENTENCING MEMORANDUM by USA as to FEDERICO GUILLERMO KLEIN
(Attachments: # 1 Exhibit A: Klein's GiveSendGo)(Klamann, Kaitlin) (Entered:
10/27/2023)

10/27/2023

E

SENTENCING MEMORANDUM by FEDERICO GUILLERMO KLEIN
(Woodward, Stanley) (Entered: 10/27/2023)

11/02/2023 |225 | NOTICE OF FILING by USA as to FEDERICO GUILLERMO KLEIN
(Attachments: # 1 Exhibit Victim Impact Statement)(Klamann, Kaitlin) (Entered:

11/02/2023)

11/03/2023 |726 | RESPONSE by FEDERICO GUILLERMO KLEIN re 717 Sentencing Memorandum
(Woodward, Stanley) (Entered: 11/03/2023)

11/03/2023 Minute Entry for proceedings held before Judge Trevor N. McFadden: Sentencing

held on 11/3/2023 as to FEDERICO GUILLERMO KLEIN (9). Defendant sentenced
to a term of Seventy (70) Months of Incarceration on each of Counts 9s, 17s, 19s, 27s,
31s—32s, 34s; a term of Sixty (60) Months of Incarceration on Count 35s; a term of
Twelve (12) Months of Incarceration on each of Counts 43s and 51s; a term of Six (6)
Months of Incarceration on each of Counts 52s and 53s, with all terms to run
concurrently, followed by a term of Twenty—Four (24) Months of Supervised Release
on each of Counts 9s, 17s, 19s, 27s, 31s—32s, 34s, 35s; a term of Twelve (12) Months
of Supervised Release on each of Counts 43s and 51s, with all terms to run
concurrently. Special Assessment of $100 imposed on Counts 9s, 17s, 19s, 27s,
31s—32s; $25 imposed on Counts 43s and 51s; $10 imposed on Counts 52s and 53s,
for a total of $870. Restitution imposed in the amount of $2,000. Fine imposed in the
amount of $3,000. Bond Status of Defendant: Personal Recognizance. Defense
Attorney: Stanley Woodward, Jr.; US Attorneys: Ashley Akers, Kaitlin Klamann,
Laura E. Hill; Probation Officer: Sherry Baker; Court Reporter: Lisa Edwards. (hmc)
(Entered: 11/03/2023)

11/07/2023 {733 | JUDGMENT as to FEDERICO GUILLERMO KLEIN. Statement of Reasons Not
Included. Signed by Judge Trevor N. McFadden on 11/7/2023. (zltp) (Entered:
11/15/2023)

11/07/2023 |734 | STATEMENT OF REASONS as to FEDERICO GUILLERMO KLEIN. re 733
Judgment Access to the PDF Document is restricted per Judicial Conference Policy.
Access is limited to Counsel of Record and the Court. Signed by Judge Trevor N.
McFadden on 11/7/2023. (zltp) (Entered: 11/15/2023)

11/22/2023 |735 | NOTICE OF APPEAL - Final Judgment by FEDERICO GUILLERMO KLEIN re
733 Judgment. Filing fee $ 505, receipt number ADCDC-—10512921. Fee Status: Fee
Paid. Parties have been notified. (Woodward, Stanley) (Entered: 11/22/2023)

11/22/2023 |736 | MOTION for Extension of Time to file Notice of Appeal by FEDERICO
GUILLERMO KLEIN. (Attachments: # 1 Text of Proposed Order)(Woodward,
Stanley) (Entered: 11/22/2023)

11/23/2023 MINUTE ORDER as to FEDERICO GUILLERMO KLEIN (9): The Court ORDERS
that Defendant's 736 Motion for Extension of Time is GRANTED. Defendant's Notice
of Appeal shall be considered timely filed. SO ORDERED. Signed by Judge Trevor
N. McFadden on 11/22/2023. (Ictnm3) (Entered: 11/23/2023)

Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 34 of 43

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)

UNITED STATES OF AMERICA, )
) Criminal No. 1:21-CR-00040-TNM

v. )

)

FEDERICO GUILLERMO KLEIN, )

)

Defendant. )

)

NOTICE OF APPEAL

Notice is hereby given that Defendant Federico Guillermo Klein appeals to the United
States Court of Appeals for the District of Columbia from the Judgment and Sentence entered in

this case on November 3, 2023 (ECF No. 733).

Dated: November 22, 2023 Respectfully submitted,

/s/ Stanley E. Woodward, Jr.
Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
BRAND WOODWARD LAw, LP
400 Fifth Street, Northwest, Suite 350
Washington, DC 20001
202-996-7447 (telephone)
202-996-0113 (facsimile)
Stanley@BrandWoodwardLaw.com

Counsel for Defendant Federico Guillermo Klein

34
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 35 of 43

CERTIFICATE OF SERVICE

On Wednesday, November 22, 2023, the undersigned hereby certifies that a true and
correct copy of the foregoing was electronically filed and served via the CM/ECF system, which

will automatically send electronic notification of such filing to all registered parties.

/s/ Stanley E. Woodward, Jr.

Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
BRAND WOODWARD LAw, LP

400 Fifth Street, Northwest, Suite 350
Washington, DC 20001

202-996-7447 (telephone)

202-996-0113 (facsimile)
Stanley@BrandWoodwardLaw.com

35
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 36 of 43

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.

FEDERICO GUILLERMO KLEIN Case Number: 21-cr-40-9 (TNM)
USM Number: 33079-509

Stanley Edmund Woodward, Jr.

Defendant’s Attorney

THE DEFENDANT:
KL pleaded guilty to count(s)

ZC pleaded nolo contendere to count(s)
which was accepted by the court.

Wj was found guilty on count(s) 9, 17, 19, 27, 31-32, 34, 35, 43, 51, 52, 53 of the Fifth Superseding Indictment
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense . Offense Ended Count
18 USC 111(a)(1)and2 Assaulting, Resisting, or Impeding Certain Officers and 1/6/2021 9s

Aiding and Abetting
18 USC 111(a)(1)and2 Assaulting, Resisting, or Impeding Certain Officers and 1/6/2024 17s

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

(_] The defendant has been found not guilty on count(s)

C1 Count(s) C1 is Care dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/3/2023

Date of Imposition of Judgment

Latredlen

Signature of Judge

Trevor N. McFadden, U.S. District Judge

Name and Title of Judge

Date

36
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 37 of 43

AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet IA

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)

Title & Section

48 USC 1114(a)(1) and 2

18 USC 111(a)(1) and 2

18 USC 111(a)(1)
48 USC1512(c)(2) and 2

48 USC 231(a)(3)
48 USC 1752(a)(2)

18 U.S.C. 1752(a)(4)

40 USC 5104(e)(2)(D), 2

40 USC 5104(e)(2)(F),
18:2

Judgment—Page

ADDITIONAL COUNTS OF CONVICTION

Nature of Offense

Aiding and Abetting

Assaulting, Resisting, or Impeding Certain Officers and
Aiding and Abetting

Assaulting, Resisting, or Impeding Certain Officers and
Aiding and Abetting

Assaulting, Resisting, or Impeding Certain Officers
Obstruction of an Official Proceeding and Aiding and
Abetting

Civil Disorder

Disorderly and Disruptive Conduct in a Restricted
Building or Grounds

Engaging in Physical Violence in a Restricted Building
or Grounds

Disorderly Conduct in a Capito! Building

Act of Physical Violence in a Capitol Grounds or

Buildings

Offense Ended

1/6/2021

1/6/2021

1/6/2021
1/6/2021

1/6/2021
1/6/2021

1/6/2021

1/6/2021
1/6/2021

of

Count

19s

278

318 - 32s
34s

35s
43s

51s

52s
53s

37
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 38 of 43

AO 245B (Rev, 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 3 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER:  21-cr-40-9 (TNM)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of:
Seventy (70) Months on Counts 9s, 17s, 19s, 27s, 31s-32s, 34s; Sixty (60) Months on Count 35s; Twelve (12) Months on

Counts 43s, 51s; Six (6) Months on Counts 52s, 53s, all terms to run concurrently.

| The court makes the following recommendations to the Bureau of Prisons:
- incarceration at FC| Petersburg or FC] Cumberland.

C1 The defendant is remanded to the custody of the United States Marshal.

[1] The defendant shall surrender to the United States Marshal for this district:

Chat Olam. CO pm. on

C1 $as notified by the United States Marshal.

| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on

C1] as notified by the United States Marshal.

[Mf as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
— UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

38
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 39 of 43

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 4 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

Twenty-Four (24) Months on Counts 9s, 17s, 19s, 27s, 31s-32s, 34s, 35s; Twelve (12) Months on Counts 43s, 51s, all terms

to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

V1 The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4, M You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
CJ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
i (J You must participate in an approved program for domestic violence. (check if applicable)

LN —

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

39
Case 1:21-cr-00040-TNM Document 737 Filed 11/29/23 Page 40 of 43

AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 3A — Supervised Release

Judgment—Page 5 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.

tn ee

9.

10.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours,

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts. gov.

Defendant's Signature Date

40
xO MSR En DON Case 4:24 -cr-00040-TNM Document 737 Filed 11/29/23 Page 41 of 43

Sheet 3D — Supervised Release

Judgment—Page 6 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)

SPECIAL CONDITIONS OF SUPERVISION

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United

States Attorney's Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer.

Fine - You are ordered to pay a fine in the amount of $3,000.

Restitution Obligation - You are ordered to make restitution to an amount of $2,000 to the Architect of the Capitol.
Restitution payments shall be made to the Clerk of the Court for the United States District Court, District of Columbia.

You must pay the balance of any financial obligations owed at a rate of no less than $200 each month. Payment during the
term of supervised release will commence 30 days after release from imprisonment.

The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or

termination from treatment.

41
Ap 2404 Rev, DBAS soe 2-24 cr gg 40-TNM Document 737 Filed 11/29/23 Page 42 of 43

Sheet 5 — Criminal Monetary Penalties

Judgment — Page 7 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 870.00 $ 2,000.00 $ 3,000.00 $ 0.00 $ 0.00
C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each Bey ce shall receive an appieaimately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Clerk of the Court for the United States $2,000.00

District Court, District of Columbia, for
disbursement to:

Architect of the Capitol

Office of the Chief Financial Officer
Ford House Office Building

Room H2-205B

Washington, DC 20515

TOTALS $ 0.00 $ 2,000.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

CJ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 the interest requirement is waived forthe LJ fine [J restitution.

C1] the interest requirement forthe ©] fine (1 restitution is modified as follows:

* Amy, Vicky, and andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims o Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are paul under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

42
AO 245B (Rev, 09/19) iGase 1:2t-crQ0040-TNM Document 737 Filed 11/29/23 Page 43 of 43

Sheet 6 — Schedule of Payments

Judgment — Page 8 of 8

DEFENDANT: FEDERICO GUILLERMO KLEIN
CASE NUMBER: 21-cr-40-9 (TNM)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A  W Lumpsum payment of $ _ 870.00 due immediately, balance due

(]__ not later than , or
MW inaccordancewith  C, 7 D, OO E,or MI F below; or

B (1 Payment to begin immediately (may be combined with LIC, LID,or LIF below); or

C (  Paymentinequal _ (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
—_* (e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D OU Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
___ (€.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F M_ Special instructions regarding the payment of criminal monetary penalties:
The financial obligations are payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave NW,
Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full.

See page: SPECIAL CONDITIONS OF SUPERVISION.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[) Joint and Several

Case Number .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[] The defendant shall pay the cost of prosecution.
(1 The defendant shal! pay the following court cost(s):

C1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be aerties in the following order: (1) assessment, @) restitution prneipa (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVT'A assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

43
